785 F.2d 308
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.J &amp; K HOME IMPROVEMENT CO., LENVILL SPENCER, PRES.,Plaintiffs-Appellants,v.BLUEGRASS INSURANCE AGENCY, STEINERS LEASING CO.; COMMONPLEAS CT., XENIA, OHIO, Defendants-Appellees.
    85-3708
    United States Court of Appeals, Sixth Circuit.
    1/24/86
    
      ORDER
      BEFORE:  ENGEL, CONTIE and MILBURN, Circuit Judges.
    
    
      1
      This matter is before the Court upon consideration of appellee Common Pleas Court's motion to dismiss for lack of jurisdiction due to the untimely filing of the notice of appeal, and appellant's response thereto.
    
    
      2
      The record shows that the judgment of the district court was entered on May 20, 1985.  The notice of appeal was due to be filed within 30 days thereafter, or on or before June 19, 1985.  Rule 4(a)(1), Federal Rules of Appellate Procedure.  The notice of appeal was not filed until August 23, 1985, two months beyond the time period.  There were no motions filed which would have tolled the time for filing a notice of appeal.
    
    
      3
      Compliance with the time requirement of Rule 4(a) of the Federal Rules of Appellate Procedure is mandatory and jurisdictional and can neither be waived nor extended by this Court.  Peake v. First National Bank and Trust Co. of Marquette, 717 F.2d 1016 (6th Cir. 1983); Rule 26(b), Federal Rules of Appellate Procedure.  Because appellant failed to timely file his notice of appeal, this Court is without jurisdiction to review the lower court's disposition of this action.
    
    
      4
      Accordingly, it is ORDERED that the appeal be and it hereby is dismissed for lack of jurisdiction.  Rule 91(d)(1), Rules of the Sixth Circuit.
    
    